










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-04-00549-CR




Willie Dan Majors III, Appellant

v.

The State of Texas, Appellee





FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT
NO. 53011, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
In April 2002, the district court deferred adjudication after appellant Willie Dan
Majors III pleaded guilty to unlawfully carrying a weapon on a licensed premises.  See Tex. Pen.
Code Ann. § 46.02 (West 2003).  In August 2003, the court adjudicated Majors guilty and sentenced
him to five years in prison and a $490 fine.  After Majors completed boot camp, he was placed on
community supervision.  In August 2004, the court revoked supervision and imposed sentence after
Majors admitted violating the conditions of his supervision.
Majors’s court-appointed attorney filed a brief concluding that the appeal is frivolous
and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by presenting a professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d
807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v.
State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969).  Majors received a copy of counsel’s brief and was advised of his right to examine the
appellate record and to file a pro se brief.  No pro se brief has been filed.
We have reviewed the record and counsel’s brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.
The order revoking community supervision is affirmed.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bea Ann Smith, Justice
Before Justices Smith, Puryear and Pemberton
Affirmed
Filed:   March 10, 2005
Do Not Publish


